                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                  EASTERN DIVISION

CRAIG SCHULTZ and
BELEN SCHULTZ

       Plaintiffs
                                                       NO.: 6:12-cv-02022-LRR
v.

PORTFOLIO RECOVERY
ASSOCIATES, LLC AND PORTFOLIO
RECOVERY ASSOCIATES, INC.,

       Defendants

                           ____________________________________


                                           COMPLAINT

                                      NATURE OF ACTION

       1.       This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq. and the Iowa Debt Collection Practices Act (“IaDCPA”),

Iowa Code Ann. §537. 7103.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

       3.       Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where the acts

and transactions giving rise to Plaintiff’s action occurred in this district, (where Plaintiff resides

in this district), and/or where Defendant transacts business in this district.

                                             PARTIES

       4.       Plaintiffs, Craig Schultz and Belen Schultz (“Plaintiffs”), are natural persons who

at all relevant times resided in the State of Iowa, County of Chickasaw, and City of Ionia.



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       5.       Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3).

       6.       Plaintiffs are “debtors” as defined by Iowa Code Ann. §537.7102(6).

       7.       Defendant, Portfolio Recovery Associates, LLC, (“PRA, LLC”) is an entity who

at all relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5) and Iowa Code

Ann. §537.7102(4).

       8.       PRA, LLC is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and Iowa

Code Ann. §537.7102(5).

       9.       Defendant, Portfolio Recovery Associates, Inc., (“PRA, INC”) is an entity who at

all relevant times was engaged, by use of the mails and telephone, in the business of attempting

to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5) and Iowa Code Ann.

§537.7102(4).

       10.      PRA, INC. is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and Iowa

Code Ann. §537.7102(5).

                                  FACTUAL ALLEGATIONS

       11.      Plaintiffs are natural persons obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due a creditor other than Defendants.

       12.      Plaintiffs’ obligation, or alleged obligation, owed or due, or asserted to be owed

or due to Defendant PRA, INC., arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes.

       13.      Plaintiffs incurred the obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant PRA, LLC.



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        14.       Defendants use instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

to collect, directly or indirectly, debts owed or due, or asserted to be owed or due another.

        15.       Plaintiffs mailed Wetsch & Abbott, agent-in-fact of Defendants PRA, LLC and

PRA, Inc., demands to cease and desist communications on April 17, 2007 and May 27, 2007.

        16.       Defendants' agent-in-fact received Plaintiffs' two written demands to cease and

desist communications on April 23, 2007 and on or about June 1, 2007.

        17.       In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of

Defendant PRA, Inc., placed a telephone call to, or caused a telephone call to be placed to,

Plaintiffs’ residence on March 17, 2011 at 7:39 A.M., a time Defendant knew or should have

known was inconvenient for Plaintiffs.

        18.       In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

March 18, 2011 at 7:33 A.M., a time Defendants knew or should have known was inconvenient

for Plaintiffs.

        19.       In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

April 12, 2011 at 7:06 A.M., a time Defendants knew or should have known was inconvenient

for Plaintiffs.

        20.       In connection with collection of an alleged debt in default, despite receipt of



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Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

April 18, 2011 at 11:20 A.M., and at such time, left a five-second voicemail with no audible

message.

        21.       In its voicemail message of April 18, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

        22.       In its voicemail message of April 18, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

        23.       In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

April 22, 2011 at 7:05 A.M., a time Defendants knew or should have known was inconvenient

for Plaintiffs.

        24.       In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

May 29, 2011 at 4:20 P.M., and at such time, left a five-second voicemail with no audible

message.

        25.       In its voicemail message of May 29, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

        26.       In its voicemail message of May 29, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

        27.       In connection with collection of an alleged debt in default, despite receipt of



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Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

June 27, 2011 at 5:14 P.M., and at such time, left a five-second voicemail with no audible

message.

       28.     In its voicemail message of June 27, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       29.     In its voicemail message of June 27, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

       30.     In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC called Plaintiffs’ residential

telephone on July 2, 2011 at 11:08 A.M., and at such time, left a five-second voicemail with no

audible message.

       31.     In its voicemail message of July 2, 2011, Defendant PRA, LLC failed to disclose

its true corporate or business name in a telephone call to Plaintiffs.

       32.     In its voicemail message of July 2, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

       33.     In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

July 14, 2011 at 8:08 A.M., and at such time, left a five-second voicemail with no audible

message.

       34.     In its voicemail message of July 14, 2011, Defendant PRA, LLC failed to disclose

its true corporate or business name in a telephone call to Plaintiffs.



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       35.     In its voicemail message of July 14, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

       36.     In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

August 1, 2011 at 5:53 P.M., and at such time, left a five-second voicemail with no audible

message.

       37.     In its voicemail message of August 1, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       38.     In its voicemail message of August 1, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

       39.     In connection with collection of an alleged debt in default, despite receipt of

Plaintiffs' demand to cease communications, Defendant PRA, LLC, itself and on behalf of PRA,

Inc., placed a telephone call to, or caused a telephone call to be placed to, Plaintiffs’ residence on

August 8, 2011 at 5:28 P.M., and at such time, left a five-second voicemail with no audible

message.

       40.     In its voicemail message of August 8, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       41.     In its voicemail message of August 8, 2011, Defendant PRA, LLC failed to notify

Plaintiffs that the communication was from a debt collector.

       42.     Plaintiffs sent Defendant PRA, LLC written correspondence dated August 7,

2011, in which Plaintiffs demanded Defendant cease all communications with Plaintiffs.

       43.     Defendant PRA, LLC received Plaintiffs’ demand to cease all communications



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with Plaintiffs on August 10, 2011.

       44.     In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant PRA, LLC,

itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone call to be

placed to, Plaintiffs’ residence on August 23, 2011 at 8:21 P.M., and at such time, left a five-

second voicemail with no audible message.

       45.     In its voicemail message of August 23, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       46.     In its voicemail message of August 23, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.

       47.     In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant PRA, LLC,

itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone call to be

placed to, Plaintiffs’ residence on August 31, 2011 at 8:05 P.M., and at such time, left a five-

second voicemail with no audible message.

       48.     In its voicemail message of August 31, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       49.     In its voicemail message of August 31, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.

       50.     In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant PRA, LLC,

itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone call to be

placed to, Plaintiffs’ residence on September 12, 2011 at 8:29 P.M., and at such time, left a five-



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second voicemail with no audible message.

       51.     In its voicemail message of September 12, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       52.     In its voicemail message of September 12, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.

       53.     In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant Defendant

PRA, LLC, itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone

call to be placed to, Plaintiffs’ residence on September 22, 2011 at 8:09 P.M., and at such time,

left a five-second voicemail with no audible message.

       54.     In its voicemail message of September 22, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       55.     In its voicemail message of September 22, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.

       56.     In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant PRA, LLC,

itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone call to be

placed to, Plaintiffs’ residence on October 31, 2011 at 8:12 P.M., and at such time, left a five-

second voicemail with no audible message.

       57.     In its voicemail message of October 31, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

       58.     In its voicemail message of October 31, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.



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        59.       In connection with collection of an alleged debt in default, and despite receipt of

Plaintiffs’ written demand to cease all communications with Plaintiffs, Defendant PRA, LLC,

itself and on behalf of PRA, Inc., placed a telephone call to, or caused a telephone call to be

placed to, Plaintiffs’ residence on November 21, 2011 at 2:27 P.M., and at such time, left a five-

second voicemail with no audible message.

        60.       In its voicemail message of November 21, 2011, Defendant PRA, LLC failed to

disclose its true corporate or business name in a telephone call to Plaintiffs.

        61.       In its voicemail message of November 21, 2011, Defendant PRA, LLC failed to

notify Plaintiffs that the communication was from a debt collector.

        62.       Defendants’ actions constitute conduct highly offensive to a reasonable person,

and as a result of Defendants’ behavior Plaintiffs suffered and continues to suffer injury to

Plaintiffs’ feelings, personal humiliation, embarrassment, mental anguish and/or emotional

distress.

                                         COUNT I
                              VIOLATION OF 15 U.S.C. § 1692c(a)(1)
                                   DEFENDANT PRA, LLC

        63.       Plaintiff repeats and re-alleges each and every allegation contained above.

        64.       Defendant PRA, LLC violated 15 U.S.C. § 1692c(a)(1) by communicating with

Plaintiffs at times or places which were known or should have been known to be inconvenient

for Plaintiffs.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692c(a)(1));

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                  amount of $1,000.00;



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             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT II
                              VIOLATION OF 15 U.S.C. § 1692c(c)
                                  DEFENDANT PRA, LLC

       65.      Plaintiff repeats and re-alleges each and every allegation contained above.

       66.      Defendant PRA, LLC violated 15 U.S.C. § 1692c(c) by communicating with

Plaintiffs after having received a letter from Plaintiffs with a request to cease and desist all

collection contacts or a statement that Plaintiffs refuses to pay the debt..

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692c(c);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT III
                              VIOLATION OF 15 U.S.C. § 1692d(5)
                                  DEFENDANT PRA, LLC

       67.      Plaintiff repeats and re-alleges each and every allegation contained above.



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       68.      Defendant PRA, LLC violated 15 U.S.C. § 1692d(5) by causing Plaintiffs’

telephone to ring repeatedly or continuously with intent to harass, annoy or abuse Plaintiffs.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692d(5);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT IV
                              VIOLATION OF 15 U.S.C. § 1692d(6)
                                  DEFENDANT PRA, LLC

       69.      Plaintiff repeats and re-alleges each and every allegation contained above.

       70.      Defendant PRA, LLC violated 15 U.S.C. § 1692d(6) by failing to disclose

Defendant’s true corporate or business name in a telephone call to Plaintiffs. See Langdon v.

Credit Management, LP, 2010 WL 3341860 (N.D.Cal. 2010) (where defendant calls plaintiff and

hangs up the phone, common sense dictates that defendant has not provided meaningful

disclosure).

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;



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             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT V
                             VIOLATION OF 15 U.S.C. § 1692e(11)
                                 DEFENDANT PRA, LLC

       71.      Plaintiff repeats and re-alleges each and every allegation contained above.

       72.      Defendant PRA, LLC violated 15 U.S.C. § 1692e(11) by failing to notify

Plaintiffs during each collection contact that the communication was from a debt collector.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692e(11);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                      COUNT VI
                            VIOLATION OF 15 U.S.C. § 1692c(a)(1)
                                 DEFENDANT PRA, INC

       73.      Plaintiff repeats and re-alleges each and every allegation contained above.

       74.      Defendant PRA, INC violated 15 U.S.C. § 1692c(a)(1) by communicating with



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Plaintiffs at times or places which were known or should have been known to be inconvenient

for Plaintiffs.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692c(a)(1));

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                  amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                  allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT VII
                               VIOLATION OF 15 U.S.C. § 1692c(c)
                                   DEFENDANT PRA, INC.

        75.       Plaintiff repeats and re-alleges each and every allegation contained above.

        76.       Defendant PRA, INC violated 15 U.S.C. § 1692c(c) by communicating with

Plaintiffs after having received a letter from Plaintiffs with a request to cease and desist all

collection contacts or a statement that Plaintiffs refuses to pay the debt..

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692c(c);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                  amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;



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             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                      COUNT VIII
                              VIOLATION OF 15 U.S.C. § 1692d(5)
                                  DEFENDANT PRA, INC

       77.      Plaintiff repeats and re-alleges each and every allegation contained above.

       78.      Defendant PRA, INC violated 15 U.S.C. § 1692d(5) by causing Plaintiffs’

telephone to ring repeatedly or continuously with intent to harass, annoy or abuse Plaintiffs.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692d(5);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT IX
                              VIOLATION OF 15 U.S.C. § 1692d(6)
                                  DEFENDANT PRA, INC.

       79.      Plaintiff repeats and re-alleges each and every allegation contained above.

       80.      Defendant PRA, INC violated 15 U.S.C. § 1692d(6) by failing to disclose

Defendant’s true corporate or business name in a telephone call to Plaintiffs. See Langdon v.

Credit Management, LP, 2010 WL 3341860 (N.D.Cal. 2010) (where defendant calls plaintiff and



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hangs up the phone, common sense dictates that defendant has not provided meaningful

disclosure).

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT X
                             VIOLATION OF 15 U.S.C. § 1692e(11)
                                 DEFENDANT PRA, INC.

       81.      Plaintiff repeats and re-alleges each and every allegation contained above.

       82.      Defendant PRA, INC violated 15 U.S.C. § 1692e(11) by failing to notify

Plaintiffs during each collection contact that the communication was from a debt collector.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated 15 U.S.C. § 1692e(11);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in the

                amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be



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                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                     COUNT XI
                          VIOLATION OF I.D.C.P.A. § 537.7103(2)(d)
                                DEFENDANTS PRA, LLC

       83.      Plaintiff repeats and re-alleges each and every allegation contained above.

       84.      Defendant PRA, LLC violated I.D.C.P.A. § 537.7103(2)(d) by causing a

telephone to ring or engaging a person in telephone conversation repeatedly or continuously or at

unusual hours or times known to be inconvenient, with intent to annoy, harass or threaten a

person..

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated I.D.C.P.A. § 537.7103(2)(d);

             b) Awarding Plaintiff statutory damages, pursuant to Iowa Code Ann. §537.5201, in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to Iowa Code Ann. §537.5201;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                     COUNT XII
                          VIOLATION OF I.D.C.P.A. § 537.7103(2)(b)
                                DEFENDANTS PRA, LLC

       85.      Plaintiff repeats and re-alleges each and every allegation contained above.

       86.      Defendant PRA, LLC violated I.D.C.P.A. § 537.7103(2)(b) by the placement of

telephone calls to the debtor without disclosure of the name of the business or company the debt



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collector represents.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, LLC violated I.D.C.P.A. § 537.7103(2)(b);

             b) Awarding Plaintiff statutory damages, pursuant to Iowa Code Ann. §537.5201, in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to Iowa Code Ann. §537.5201;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                     COUNT XIII
                          VIOLATION OF I.D.C.P.A. § 537.7103(2)(d)
                                DEFENDANTS PRA, INC

       87.      Plaintiff repeats and re-alleges each and every allegation contained above.

       88.      Defendant PRA, INC violated I.D.C.P.A. § 537.7103(2)(d) by causing a

telephone to ring or engaging a person in telephone conversation repeatedly or continuously or at

unusual hours or times known to be inconvenient, with intent to annoy, harass or threaten a

person..

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, INC. violated I.D.C.P.A. § 537.7103(2)(d);

             b) Awarding Plaintiff statutory damages, pursuant to Iowa Code Ann. §537.5201, in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to Iowa Code Ann. §537.5201;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;



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             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.

                                     COUNT XIV
                          VIOLATION OF I.D.C.P.A. § 537.7103(2)(b)
                                DEFENDANTS PRA, INC

       89.      Plaintiff repeats and re-alleges each and every allegation contained above.

       90.      Defendant PRA, INC violated I.D.C.P.A. § 537.7103(2)(b) by the placement of

telephone calls to the debtor without disclosure of the name of the business or company the debt

collector represents.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant PRA, INC. violated I.D.C.P.A. § 537.7103(2)(b);

             b) Awarding Plaintiff statutory damages, pursuant to Iowa Code Ann. §537.5201, in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to Iowa Code Ann. § 537.5201;

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                allowed under the law;

             f) Awarding such other and further relief as the Court may deem just and proper.




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                                       TRIAL BY JURY

      Plaintiff is entitled to and hereby demands a trial by jury.

Respectfully submitted this 15th day of March, 2012

                                             /s/ JD Haas_____
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